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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

 DISPLAY TECHNOLOGIES, LLC,            §
                                       §
       Plaintiff,                      §                      Case No: 0:19-cv-61896-KMM
                                       §
 vs.                                   §                      PATENT CASE
                                       §
 INMUSIC, LLC                          §                      JURY TRIAL DEMANDED
                                       §
       Defendant.                      §
 _____________________________________ §

                            PLAINTIFF’S RULE 7.1 STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

 Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

 counsel for DISPLAY TECHNOLOGIES LLC, a private non-governmental property, certifies

 that there are no corporate parents, affiliates and/or subsidiaries owning more than ten percent

 (10%) of Plaintiff.



   Dated: July 29, 2019                       Sand, Sebolt & Wernow Co., LPA

                                              /s/ Howard L. Wernow
                                              Howard L. Wernow B.C.S.
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